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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


John Doe,
                                                               Case No. 2:15-cv-2830
                  Plaintiff,
         v.                                                    Judge Graham

The Ohio State University, et al.,                             Magistrate Judge Kemp

                  Defendants.

                                            OPINION & ORDER

         The Ohio State University (“OSU”) expelled one of its students, John Doe1, for sexual
misconduct. A university hearing panel found that Doe engaged in sexual misconduct by having
sex with a classmate who lacked the capacity to consent because she was inebriated. John Doe
claims OSU expelled him because of a fundamentally unfair disciplinary process. He argues that,
among other things, OSU and some of its personnel knew that his accuser had a reason to fabri-
cate her charge of sexual misconduct, but they failed to provide him with this information before
the hearing and instead permitted her to make false or misleading statements to the hearing pan-
el. Doe sued OSU and five of its administrators (the “Administrators”) alleging they violated his
procedural due process rights. Doe alleges claims against two of the Administrators in their offi-
cial capacity and alleges claims against all five in their individual capacity. Now, OSU and its
administrators (collectively, “Defendants”) move to dismiss Doe’s claims based on Eleventh
Amendment immunity and qualified immunity.


I. Background
         A. Factual allegations

         John Doe was a joint degree M.D./M.B.A. student at OSU. (Am. Compl. at ¶ 3, Doc. 44).
The woman who accused him of sexual misconduct, Jane Roe 2, is a female medical student at


1
 He proceeds anonymously per this Court’s order. (Doc. 17).
2
 Judge Frost indicated in his order denying Doe’s motion for a preliminary injunction that the Court entered an oral
order that the parties should refer to the alleged victim as “Jane Roe.” (Doc. 75 at 2 n.2).

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OSU. (Id. at ¶ 40). OSU is a public university created by the Ohio Legislature. (Id. at ¶ 4). The
five Administrators each have different roles at OSU.
        Defendant Javaune Adams-Gaston is the Vice President for Student Life at OSU. (Id. at ¶
5). Doe alleges that Adams-Gaston is responsible for OSU’s Student Code of Conduct and Judi-
cial System and made the ultimate decision to expel Doe from OSU. (Id.).
        Defendant Matthew Page is the Associate Director for Student Life at OSU. (Id. at ¶ 6).
Doe alleges Page “has responsibility for helping to enforce and manage the disciplinary hear-
ings” at OSU, and he “is also a Deputy Title IX Coordinator at OSU.” (Id.).
        Defendant Jeff Majarian is an Associate Director for Student Life at OSU. (Id. at ¶ 7).
Doe alleges Majarian was responsible for the investigation into Jane Roe’s allegations that ulti-
mately led to Doe’s expulsion. (Id.).
        Defendant Kellie Brennan is the Title IX Coordinator for OSU. (Id. at ¶ 8). Doe alleges
that Brennan was responsible for OSU’s Title IX compliance, including providing education and
training and ensuring the “university responds appropriately, effectively and equitably to Title IX
issues.” (Id.). Doe alleges that Brennan is responsible for “helping alleged victims obtain ac-
commodations from OSU” and must serve “as consultant to any disciplinary hearing panel.” (Id.
at ¶ 27).
        Defendant Natalie Spiert is the Sexual Violence Support Coordinator in OSU’s Office for
Student Life. (Id. at ¶ 9). Doe alleges Spiert “provides support and resources for students who
have experienced sexual violence” in her capacity as the Sexual Violence Support Coordinator at
OSU. (Id.). Doe alleges that Spiert knew that Doe’s accuser made a false or misleading statement
to the hearing panel. (Id. at ¶ 67).
        The factual background of this case is laid out in great detail in Magistrate Judge Kemp’s
Report and Recommendation (“R&R”). (See Doc. 66 at 2–10). For purposes of this motion, a
summary of the factual allegations will suffice.
        John Doe was enrolled at OSU in a joint M.D./M.B.A. program. He was set to graduate
from the program in May 2016, but OSU expelled him on September 10, 2015. He was expelled
following a hearing before OSU’s Conduct Board where he responded to an allegation that he
had engaged in sexual misconduct with a medical student, Jane Roe. At the hearing, Doe testified
that his sexual encounter with Jane Roe was consensual; Jane Roe testified that she had no
memory of the encounter. Other witnesses testified about Doe and Roe’s characters and the


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events of that night, including their perception of Jane Roe being intoxicated. Ultimately, the
hearing panel found Doe had violated the OSU Code of Conduct or Sexual Misconduct Policy.
       Doe alleges that throughout the investigation, hearing, and appeal process, the Defend-
ants denied him procedural due process in a number of different ways. The basis for many of his
due process claims is that OSU denied him the opportunity to present his story: that he and Jane
Roe had consensual sex, and she fabricated the no-consent story when she faced failing out of
medical school for the second time. Key to John Doe’s allegations is a timeline of events.
       On July 12, 2014, John Doe and Jane Roe had sex at John Doe’s apartment. On March
23, 2015, Jane Roe received a copy of a letter informing her that she was being “referred to the
ABRC [Academic Behavioral Review Committee] for consideration of her dismissal from the
OSU Medical School.” (Am. Compl. at ¶ 47). Dr. Danforth, the chair of the ABRC, made it clear
to Jane Roe that “[h]er expectation that she will be permitted to continue in the curriculum is un-
realistic.” (Id.). Doe alleges that on March 25, 2015, for the first time, Jane Roe contacted the
Office of Student Life at OSU to report that she was the victim of a sexual assault. (Id. at ¶¶ 48–
49). Doe met with the ABRC on April 15, 2015. (Id. at ¶ 51). On April 17, 2015, Jane Roe
scheduled an appointment to meet with Majarian as part of the process of reporting the incident
to another university body, the Student Conduct Office. (Id. at ¶ 53). On April 21, 2015, the
ABRC granted Jane Roe the opportunity to repeat the first year of medical school. (Id. at ¶¶ 52,
54).
       Doe alleges that the Administrators knew that Jane Roe received this accommodation—
the chance to repeat the first year of medical school—and knew that she didn’t report the inci-
dent until after facing the prospect of failing out of medical school for the second time. OSU
failed to turn over this key piece of evidence before Doe’s disciplinary hearing. Further still, at
the disciplinary hearing, Jane Roe indicated she only reported the sexual misconduct after OSU’s
decision to allow her to again repeat the first year of medical school. (Id. at ¶ 67).
       Doe argues he would have been able to use evidence of Roe’s accommodation at the
hearing to impeach Roe’s credibility, to refute her statement that she only reported the incident
after the university’s decision to allow her to repeat her first year of medical school again, and to
answer one of the panel member’s questions about Jane Roe’s incentive to fabricate her story.
Since the outcome of the hearing appeared to turn on a question of credibility, by denying Doe
this critical evidence, Doe argues that OSU denied him procedural due process.


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       B.      Procedural Background
       In September 2015, John Doe filed a verified complaint seeking a declaratory judgment,
injunctive relief, and damages, arguing that OSU and the Administrators violated his due process
rights and Title IX. (Doc. 1). Doe also moved for a Temporary Restraining Order, (Doc. 2),
which the Court denied in October 2015, (Doc. 20). After a first motion to dismiss from Defend-
ants, (Doc. 28), Doe filed an amended complaint, (Doc. 44). Shortly thereafter, Defendants filed
a motion to dismiss the claims in the amended complaint. (Doc. 55). Later that month, Magis-
trate Judge Kemp recommended that the motion for preliminary injunction be denied. (Doc. 66).
Judge Frost adopted the R&R in April 2016. (Doc. 75). Judge Frost noted, in his order denying
the motion for preliminary injunction, that “Plaintiff has introduced evidence that has given this
Court significant pause as to many of the practices that the university employs and the rules it
has established to govern its investigative and disciplinary hearing process.” (Id. at 6). However,
for Judge Frost, “not even these concerns—taken together or viewed individually—suggest that
Plaintiff can prevail on his due process claim.” (Id.). The Court stayed discovery pending the
outcome of the present motion to dismiss.
       Defendants move to dismiss under Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6).


II.    Legal Standard
       Under Rule 12(b)(6), the complaint is viewed in the light most favorable to plain-
       tiffs, the allegations in the complaint are accepted as true, and all reasonable in-
       ferences are drawn in favor of plaintiffs. Bassett v. Nat'l Collegiate Athletic Ass'n,
       528 F.3d 426, 430 (6th Cir. 2008). However, “a legal conclusion couched as a
       factual allegation” need not be accepted as true. Bell Atlantic Corp. v. Twombly,
       550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). Plaintiffs' obliga-
       tion to provide the “grounds” for their claimed entitlement to relief “requires more
       than labels and conclusions, and a formulaic recitation of the elements of a cause
       of action will not do.” Id. The factual allegations must “raise the right to relief
       above the speculative level.” Id. The complaint must state a claim that is plausible
       on its face, i.e., the court must be able to draw a “reasonable inference that the de-
       fendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 129
       S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009). This “plausibility standard is not
       akin to a ‘probability requirement,’ but it asks for more than a sheer possibility
       that a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556,
       127 S. Ct. 1955). “Where a complaint pleads facts that are ‘merely consistent
       with’ a defendant's liability, it ‘stops short of the line between possibility and
       plausibility of “entitlement to relief.” ’ ” Id. (quoting Twombly, 550 U.S. at 557,
       127 S. Ct. 1955).


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Rondigo, L.L.C. v. Twp. of Richmond, 641 F.3d 673, 680 (6th Cir. 2011).
       While generally “matters outside the pleadings may not be considered in ruling on a
12(b)(6) motion to dismiss” without converting it into a summary judgment motion, Jackson v.
City of Columbus, 194 F.3d 737, 745 (6th Cir. 1999) (quoting Weiner v. Klais & Co., 108 F.3d
86, 88 (6th Cir. 1997)), abrogated on other grounds by Swierkiewicz v. Sorema N.A., 534 U.S.
506 (2002), “when a document is referred to in the pleadings and is integral to the claims, it may
be considered without converting a motion to dismiss into one for summary judgment,” Com-
mercial Money Ctr., Inc. v. Ill. Union Ins. Co., 508 F.3d 327, 335–36 (6th Cir. 2007). If both par-
ties reference and quote extensively from particular documents, and neither party contests the
appropriateness of considering the documents on review of a motion to dismiss, the Court may
consider the documents. See In re Fair Fin. Co., ___ F.3d ___, 2016 WL 4437606, at *1 n.1 (6th
Cir. Aug. 23, 2016).
       Here, the parties don’t dispute the appropriateness of considering the transcript of the dis-
ciplinary hearing, which both parties quote and reference throughout their briefs. The key con-
tents of the hearing transcript are alleged in the Amended Complaint. To the extent the Court re-
lies on any part of the hearing transcript that is not quoted in the Amended Complaint, the Court
considers it integral to Doe’s claims and therefore appropriate to consider.
       Challenges to subject-matter jurisdiction pursuant to Federal Rule of Civil Proce-
       dure 12(b)(1) are categorized as either a facial attack or a factual attack. “Under a
       facial attack, all of the allegations in the complaint must be taken as true.... Under
       a factual attack, however, the court can actually weigh evidence to confirm the
       existence of the factual predicates for subject-matter jurisdiction.” Carrier Corp.
       v. Outokumpu Oyj, 673 F.3d 430, 440 (6th Cir. 2012).
McCormick v. Miami Univ., 693 F.3d 654, 658 (6th Cir. 2012). Here, Defendants move to dis-
miss for lack of subject matter jurisdiction, arguing they are entitled to Eleventh Amendment
immunity. They do not categorize their attack on subject-matter jurisdiction as facial or factual.
But the Court construes it as a facial attack because Defendants do not dispute the facts alleged
for purposes of Eleventh Amendment immunity.


III.   Discussion
       Defendants move to dismiss all of Doe’s claims. Defendants claim Eleventh Amendment
immunity for OSU and the Administrators in their official capacity. Defendants claim qualified
immunity for the Administrators sued in their personal capacity.

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        A.       Eleventh Amendment immunity
        Defendants argue that OSU and the Administrators sued in their official capacity are im-
mune from suit under the Eleventh Amendment. Doe concedes that OSU enjoys Eleventh
Amendment immunity. But Doe argues that he is suing the Administrators in their official capac-
ity for prospective declaratory and injunctive relief, which is one of the narrow exceptions to
Eleventh Amendment immunity.
        The Eleventh Amendment grants the states sovereign immunity from suits for money
damages. Specifically, the judicial power of the United States, exercised through the federal
courts, does not extend to a suit against a state brought by one of that state’s citizens. McCor-
mick, 693 F.3d at 661. 3 So, if Eleventh Amendment immunity applies, the Court lacks subject-
matter jurisdiction. Russell v. Lundergan-Grimes, 784 F.3d 1037, 1046 (6th Cir. 2015).
        A suit against OSU is the same as a suit against Ohio because OSU, like Ohio’s other
public universities, qualifies as an arm of the state. Johnson v. Univ. of Cincinnati, 215 F.3d 561,
571 (6th Cir. 2000). Likewise, claims against state officers in their official capacity are “no dif-
ferent from a suit against the State itself.” Will v. Mich. Dep't of State Police, 491 U.S. 58, 71
(1989). So OSU and the Administrators sued in their official capacity enjoy immunity. This in-
cludes immunity even from declaratory-judgment actions where a declaratory judgment would
have “much the same effect as a full-fledged award of damages or restitution by the federal
court.” Green v. Mansour, 474 U.S. 64, 73 (1985) (permitting declaratory judgments would re-
sult in “a partial ‘end run’ around” the Supreme Court’s Eleventh Amendment jurisprudence).
        But Eleventh Amendment immunity permits an exception: “federal courts [may] enjoin
state officers in their official capacity from prospectively violating a federal statute or the Consti-
tution.” Mich. Corr. Org. v. Mich. Dep't of Corr., 774 F.3d 895, 904 (6th Cir. 2014). So “the
Eleventh Amendment does not preclude a suit against [state officers] for prospective injunctive
relief.” McCormick, 693 F.3d at 662 (citing McKay v. Thompson, 226 F.3d 752, 757 (6th Cir.
2000)); see Ex parte Young, 209 U.S. 123, 129 (1908). A claim for reinstatement constitutes pro-
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 The Eleventh Amendment states: “The Judicial power of the United States shall not be construed to extend to any
suit in law or equity, commenced or prosecuted against one of the United States by Citizens of another State, or by
Citizens or Subjects of any Foreign State.” U.S. Const. amend. XI. But the Supreme Court has interpreted the
amendment to include another class of individuals who may not sue one of the United States: a state’s own citizens.
See Hans v. Louisiana, 134 U.S. 1, 21 (1890).




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spective injunctive relief whether it is reinstatement to a job, Whitfield v. Tennessee, 639 F.3d
253, 257 (6th Cir. 2011), or reinstatement to a medical school, see Hall v. Med. Coll. of Ohio at
Toledo, 742 F.2d 299, 307 (6th Cir. 1984).
       Here, Doe does not state a claim for reinstatement or any other kind of prospective relief.
In his Amended Complaint, Doe seeks, on Count I, “[j]udgment in favor of the Plaintiff declar-
ing that the Defendants have violated the United States Constitution, the Ohio Constitution, the
Ohio Administrative Code, and Title IX.” (Am. Compl. at 57). On its face, Count I seeks retro-
spective relief. On Count II, Doe seeks “damages in an amount to be determined at trial.” (Id.).
In both counts, Doe appears to seek retrospective rather than prospective relief. Doe counters
with two arguments.
       First, Doe argues that his expulsion now noted on his academic record adversely affects
his ability to seek employment, and a declaratory judgment would “eliminate this ongoing
harm.” (Pl.’s Resp. at 12, Doc. 69). If the Court did issue a declaratory judgment, it would do so
to correct a previous error in the disciplinary process OSU used in this case. Of course, without
this discipline on his record, Doe’s employment prospects might improve. But any plaintiff could
make a similar argument that a declaratory judgment to right past wrongs would cause some pro-
spective benefit. But here, if the Court issued the declaratory judgment Doe seeks, that judgment
wouldn’t correct “an ongoing violation of federal law.” Diaz v. Mich. Dep't of Corr., 703 F.3d
956, 965 (6th Cir. 2013).
       Second, Doe argues that he does seek reinstatement because that would be the practical
effect of a declaratory judgment that OSU and the individual defendants have violated his consti-
tutional rights. A claim for reinstatement would be prospective relief. Hall, 742 F.3d at 307. The
Court is not persuaded that Doe seeks reinstatement. It would have been simple for Doe to ask
for reinstatement: he had a chance to amend his complaint and did so without adding a request
for reinstatement. While vacating OSU’s discipline might have the effect of clearing the way for
Doe to return to OSU, or as Doe says, it would “permit him to re-enroll,” Doe doesn’t even plead
that he wants to re-enroll, or that it would be automatic.
       Doe argues that this Court has previously held that a “plaintiff’s request for a declaration
that the defendants violated his due process rights qualified as prospective equitable relief be-
cause the declaratory judgment request was, in effect, part and parcel of plaintiff’s request for
injunctive relief.” (Pl.’s Resp. at 13–14) (citing Gies v. Flack, 495 F. Supp. 2d 854 (S.D Ohio


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2004)). In Gies, the eponymous plaintiff’s claims for a name-clearing hearing and reinstatement
to his university post were not prohibited by the Eleventh Amendment. Id. at 865. These claims,
styled as claims for declaratory judgments, were not prohibited by the Eleventh Amendment be-
cause they were prospective, and in the case of the request for a name-clearing hearing, would
“have only an incidental or ancillary effect on the state treasury.” Id. But Gies’s other claims for
declaratory judgment—that the defendants violated his procedural due process rights by 1) fail-
ing to follow university procedure for detenurization 4 procedures, 2) removing the trappings of
his tenure pre-detenurization, and 3) prematurely terminating him without due process—were
barred by the Eleventh Amendment. Id. at 863–64.
           Here, Doe did not request a name-clearing hearing or reinstatement. Granting Doe the re-
lief he seeks would not have the practical effect of prospective equitable relief. Doe’s claims
against OSU and the Administrators in their official capacity are dismissed “because the Elev-
enth Amendment bars this Court from hearing them.” Id. at 865.
           B.       Qualified Immunity
           Now, what remains are Doe’s claims against the Administrators in their individual capac-
ity. Doe claims each played a role in violating his procedural due process rights. Doe identifies
seven discrete violations of procedural due process. One: the investigation into Jane Roe’s claims
was inadequate and biased. (Am. Compl. at ¶ 57). Two: the hearing panel received training that
biased the panel against Doe. (Id. at ¶¶ 37–39). Three: Doe was not permitted to conduct any
discovery. (Id. at ¶ 91). Four: Doe was not permitted to effectively cross-examine Jane Roe due
to questions being re-worded by the hearing panel coordinator, Matthew Page. (Id. at ¶ 63). Five:
John Doe was denied the effective assistance of an attorney at the hearing. (Id. at ¶ 62). Six: Doe
should have been allowed to present exculpatory expert testimony at the hearing. (Id. at ¶ 72).
Seven: OSU should have disclosed to Doe key evidence that he would have used to impeach his
accuser, Jane Roe. (Id. at ¶ 67).
           While each individual claim has applicable due-process law, some general procedural-
due-process rules will help set the framework for this discussion.
           At the pleadings stage, a plaintiff must set forth facts that satisfy a two-part test to deter-
mine “whether qualified immunity applies: ‘(1) whether, considering the allegations in a light
most favorable to the party injured, a constitutional right has been violated, and (2) whether that

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    “Detenurization” is the process of removing tenure from a tenured professor.

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right was clearly established.’” Heyne v. Metro. Nashville Pub. Sch., 655 F.3d 556, 562 (6th Cir.
2011) (quoting Colvin v. Caruso, 605 F.3d 282, 290 (6th Cir. 2010)). This is not a heightened
pleading standard. Id. “[D]amage claims against government officials arising from alleged viola-
tions of constitutional rights must allege, with particularity, facts that demonstrate what each de-
fendant did to violate the asserted constitutional right.” Lanman v. Hinson, 529 F.3d 673, 684
(6th Cir. 2008) (quoting Terrance v. Northville Reg'l Psychiatric Hosp., 286 F.3d 834, 842 (6th
Cir. 2002)). The Court “cannot ascribe the acts of all Individual Defendants to each individual
defendant.” Heyne, 655 F.3d at 564.
       The Court “review[s] an assertion of qualified immunity to determine only whether the
complaint ‘adequately alleges the commission of acts that violated clearly established law.’”
Back v. Hall, 537 F.3d 552, 555 (6th Cir. 2008) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526
(1985)). “A constitutional right is clearly established where its contours are sufficiently clear that
a reasonable official would understand that what he is doing violates that right—in other words,
where it would be clear to a reasonable officer that his conduct was unlawful in the situation he
confronted.” Daily Servs., LLC v. Valentino, 756 F.3d 893, 900 (6th Cir. 2014) (internal quota-
tion marks omitted) (citations omitted). “To be clearly established, a right must have been decid-
ed by the United States Supreme Court, the Court of Appeals, or the highest court of the state in
which the alleged violation occurred.” Neague v. Cynkar, 258 F.3d 504, 507 (6th Cir. 2001).
       A student has a right to procedural due process in serious school disciplinary proceed-
ings, like suspensions or expulsions. See Goss v. Lopez, 419 U.S. 565, 576 (1975). So here, due
process applies, but how many procedural protections should Doe be afforded? In short, a person
must “be given some kind of notice and afforded some kind of hearing.” Id. at 579. But the Court
must be mindful that the Due Process Clause only “sets a floor or lower limit on what is constitu-
tionally adequate.” Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 639 (6th Cir. 2005).
       The type of notice and the type of hearing “to which a student may be entitled depend[s]
on the competing interests of those involved.” Jahn v. Farnsworth, 617 F. App'x 453, 459 (6th
Cir. 2015).
       [T]he specific dictates of due process generally requires consideration of three
       distinct factors: First, the private interest that will be affected by the official ac-
       tion; second, the risk of an erroneous deprivation of such interest through the pro-
       cedures used, and the probable value, if any, of additional or substitute procedural
       safeguards; and finally, the Government's interest, including the function involved


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         and the fiscal and administrative burdens that the additional or substitute proce-
         dural requirement would entail.
 Mathews v. Eldridge, 424 U.S. 319, 334 (1976).
         The Sixth Circuit has already considered a procedural-due-process challenge to an Ohio
 medical school’s disciplinary process for an expelled medical student. See generally Flaim, 418
 F.3d 629. There, the medical school used procedures that “were far from ideal and certainly
 could have been better[, but] they were in the end . . . fundamentally fair.” Id. at 637. The Sixth
 Circuit found a strong private interest implicated by expulsion from medical school. Id. at 638.
 This strong interest merited more and more formal procedures than required for a lesser sanction,
 but even expulsion did not merit trial-type procedures. Id. at 635. While Flaim, doesn’t require
 trial-type procedures, it outlined what the Constitution requires for a fundamentally fair hearing
 process.
         Generally, the hearing must be meaningful. Id. If the hearing is live, the accused has the
 right to be present. Id. But the hearing need not be open to the public, formal rules of evidence
 and procedure need not be applied, nor do witnesses need to be placed under oath. Id.
 “[U]niversities need not allow active representation by legal counsel,” but in certain circum-
 stances it may be necessary to “ensure fundamental fairness.” Id. at 636. The accused has the
 right to make a statement and present evidence; this may include the right to cross-examine wit-
 nesses. Id. Due process may require at least the ability to create a record of the proceeding. Id.
 The student is generally not entitled to a reasoned opinion supporting the decision against them,
 nor is the student generally entitled to an appeal. Id. The Court uses the term “generally” because
 due process is a flexible concept and may require more or less process depending on the situa-
 tion. See id. at 641 (discussing varying rights to cross-examination depending on what was re-
 quired for a fair hearing).
         The parties disagree about how the Court should structure its analysis. Defendants say
 that the Court needs to look at the allegations against each individual defendant. Doe argues that
 this “atomistic” approach is wrong; the Court should instead analyze each of the procedural
 problems he identifies. Both sides present part of the answer. The Court must analyze each claim
 against each defendant—their liability does not necessarily rise and fall together. However, their
 liability is related to the extent that they each played a role in the various parts of the disciplinary
 process. This will be reflected in the Court’s analysis structure: the Court adopts Doe’s problem-
 centric approach, analyzing each due process deficiency Doe identifies, and then, if Doe states a

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 plausible claim for relief, the Court analyzes which Administrators were allegedly responsible
 for that deficiency.
        1. The investigation into Jane Roe’s claims was inadequate and biased
        Defendants argue that procedural due process does not guarantee any investigation, only
 that the accused will receive notice and an opportunity to be heard. Doe argues that Majarian was
 biased and his bias led him to conduct an incomplete investigation where he was aware of the
 likely existence of facts that would undermine Roe’s credibility but chose to make no effort to
 find that evidence. Specifically, Doe alleges that Majarian knew of the existence of several facts
 that could have impugned Roe’s credibility, but he chose not to seek that evidence.
        Doe provides no authority for the proposition that the Due Process Clause requires cer-
 tain thoroughness to an investigation. To be sure, the aim of due process is a fair process. But
 “[t]he Due Process Clause does not require a particular kind of investigation . . . .” Nguyen v.
 Univ. of Louisville, No. CIV.A. 3:04-CV-457-H, 2006 WL 1005152, at *4 (W.D. Ky. Apr. 14,
 2006). The procedural-due-process analysis focuses on the decision-maker, not the investigator.
 See Kolley v. Adult Protective Servs., 725 F.3d 581, 586–87 (6th Cir. 2013) (dismissing proce-
 dural-due-process claims against social workers and investigators because it was the juvenile
 court’s duty, and not the investigators’ duty, to provide notice and a hearing). Due process pro-
 vides, not a guarantee of a perfect investigation, but notice and an opportunity to be heard by a
 neutral decisionmaker. Here, any claims of bias in the investigation don’t implicate these due
 process concerns.
        Since Doe identifies no violation of a clearly established right to a thorough and neutral
 investigation, the Administrators are entitled to qualified immunity on this point. And since the
 only allegations against Majarian are that he performed an inadequate investigation, he is entitled
 to qualified immunity.
        2. The hearing panel members received training that biased them against Doe
        Doe argues that the five-member hearing panel was trained in a manner to produce bias.
 Specifically, Doe alleges the panel members received training on sexual assault prevention and
 understanding sexual coercion and aggression. Doe alleges that this training encouraged the pan-
 el members to empathize with victims rather than to evaluate each case dispassionately on the
 merits. Defendants argue that Doe’s allegations cannot overcome the legal presumption that ad-
 judicators act with honesty and integrity.


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        “[A] biased decisionmaker [is] constitutionally unacceptable, [and] ‘our system of law
 has always endeavored to prevent even the probability of unfairness.’” Withrow v. Larkin, 421
 U.S. 35, 47 (1975) (quoting In re Murchison, 349 U.S. 133, 136 (1955)). But “[i]n the university
 setting, a disciplinary committee is entitled to a presumption of honesty and integrity, absent a
 showing of actual bias.” McMillan v. Hunt, 968 F.2d 1215 (6th Cir. 1992) (unpublished table de-
 cision) (citing Ikpeazu v. Univ. of Neb., 775 F.2d 250, 254 (8th Cir. 1985)); see also Hill v. Bd. of
 Trs. of Mich. State Univ., 182 F. Supp. 2d 621, 628 (W.D. Mich. 2001). Actual bias could be
 “personal animosity, illegal prejudice, or a personal or financial stake in the outcome.” Ikpeazu,
 775 F.2d at 254. To survive a motion to dismiss, Doe needs to allege specific, non-conclusory
 facts that if taken as true show actual bias.
        Doe alleges, generally, that the panel members were trained in a manner intended to pro-
 duce bias against men accused of sexual misconduct. He alleges that the panel members received
 training on sexual misconduct and how to prevent sexual assault but did not receive any training
 on the due process rights of students accused of sexual misconduct. Doe alleges the training in-
 cluded viewing presentations and videos that had the effect of biasing the panel members in fa-
 vor of victims and prejudicing the panel members against men accused of sexual misconduct.
 For example, the panel members were presented statistical evidence that “22-57% of college men
 report perpetrating a form of sexual aggressive behavior.” (Am. Compl. at ¶ 38). And, “[c]ollege
 men view verbal coercion and administration of alcohol or drugs as permissible means to obtain
 sex play or sexual intercourse.” (Id.). “Repeat perpetrators are aware of myths and how to pre-
 sent and empathic.” (sic). (Id.). “Sex offenders are experts in rationalizing behavior.” (Id.). Doe
 alleges panel members were trained to “identify and understand characteristics of individuals
 who pose a risk to the safety of the community.” (Id.).
        The Court must accept these allegations as true, view them in the light most favorable to
 Doe, and draw all reasonable inferences in favor of him. Doe has alleged specific, non-
 conclusory facts to state a plausible claim that OSU’s training produced biased panel members.
 He does not allege that the panel members received any other training; in fact, he alleges that the
 panel members received no training about “protecting the due process rights of the accused.”
 (Am. Compl. at ¶ 38). If the training Doe alleges was the only training given to the panel mem-
 bers, it’s plausible that OSU trained its panel members in a manner that produced actual bias.
 Admittedly, he presents no allegations that any specific panel member had any particular animus


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 towards him. But with only his allegations to go on, the Court is left to analyze a plausibly one-
 sided training process.
         The Court does not mean to say that any of OSU’s training is untrue or not worthwhile or
 that the university’s alleged goal of aiding victims and creating a safer campus community
 should not be lauded. Indeed,
         [t]here is not exactly a constituency in favor of sexual assault, and it is difficult to
         imagine a proper member of the Hearing Committee not firmly against it. It is an-
         other matter altogether to assert that, because someone is against sexual assault,
         she would be unable to be a fair and neutral judge as to whether a sexual assault
         had happened in the first place.
 Gomes v. Univ. of Maine Sys., 365 F. Supp. 2d 6, 31–32 (D. Me. 2005).
         The Court could assume that the training Doe alleges is not the only training the panel
 members received, but at the Rule 12 stage, the Court is required to accept the plaintiff’s allega-
 tions as true and view them in the light most favorable to the plaintiff. This means operating un-
 der the assumption that the panel members received only the training Doe alleges and no training
 or direction on their role as fair and neutral judges. This, if true, plausibly alleges the panel
 members had illegal prejudice to individuals in Doe’s position, which amounts to actual bias.
         But Doe does not specifically identify which of the Administrators were responsible for
 the training. The Amended Complaint implicates Brennan as the official responsible for Title XI
 compliance and training. (Am. Compl. at ¶ 8). Doe does not allege that any of the other Adminis-
 trators played any role in the allegedly bias-inducing training. The Court will deny the motion to
 dismiss as to Administrator Kellie Brennan, but will grant the motion as to the other Administra-
 tors because Doe has not alleged that any of them were responsible for the training. The Court
 will permit limited discovery on the issue of the panel members’ training in order to resolve the
 issue of whether Brennan is entitled to qualified immunity.
         3. Doe was not permitted to conduct any discovery before the hearing
         Doe raised this generic allegation, but he fails to pursue it in his response to Defendants’
 motion to dismiss. In any event, there is no clearly established due process right to formal dis-
 covery in university disciplinary hearings. See, e.g., Tonkovich v. Kan. Bd. of Regents, 159 F.3d
 504, 520 (10th Cir. 1998) (“The Due Process Clause does not guarantee that parties to an adver-
 sarial proceeding may discover every piece of evidence they desire. Indeed, civil litigants in fed-
 eral court do not have a claim for a violation of their Fourteenth Amendment rights every time a
 federal district judge or a federal magistrate rules against them in a discovery dispute.”). The

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 Court will later address in detail Doe’s claims that he is entitled to some specific disclosures, but
 on Doe’s claim that he is entitled to general discovery before the disciplinary hearing, the Ad-
 ministrators are entitled to qualified immunity.
        4. Doe was not permitted to effectively cross-examine Jane Roe because the hearing
        panel re-worded some of Doe’s questions
        The Due Process Clause generally does not guarantee the right to cross-examination in
 school disciplinary proceedings. See Newsome v. Batavia Local Sch. Dist., 842 F.2d 920, 925–26
 (6th Cir. 1988). But where a disciplinary proceeding depends on “a choice between believing an
 accuser and an accused . . . cross-examination is not only beneficial, but essential to due pro-
 cess.” Flaim, 418 F.3d at 641 (holding that due process was not violated when cross-examination
 would have been a fruitless exercise, so this language is dictum).
        Here, Doe was permitted to cross-examine witnesses at the hearing, but Doe alleges that
 he was denied the right to cross-examine witnesses effectively. He couldn’t do so effectively be-
 cause the hearing panel reworded his questions and thereby dulled their effectiveness. Here’s an
 example:
        “John Doe attempted to ask Jane Roe, ‘You waited ten months to bring this forward.
 Why is that?’ Page changed the question to, ‘[Jane Roe], would you like to explain that, why you
 brought it in the time you did?’” (Am. Compl. at ¶ 63) (quoting hearing transcript).
        But none of the panel’s re-wordings so blunted Doe’s questions as to render them useless.
 Furthermore, nothing prevented Doe from arguing these points in his closing statement. Further
 still, all of the questions Doe alleges the panel re-worded do not so alter their content that the
 panel could not understand their significance. Since Doe was permitted to cross-examine wit-
 nesses at the hearing, and he has no clearly established right to a trial-type cross-examination,
 Defendants are entitled to qualified immunity on this point.
        5. Doe was denied the effective assistance of an attorney
        Doe alleges that he was denied the effective assistance of an attorney at his disciplinary
 hearing because Doe’s attorney was only permitted to pass him notes and whisper advice. But
 there is no due process right to active representation by legal counsel in a university disciplinary
 hearing. Flaim, 418 F.3d at 636. However, the Due Process Clause may require counsel “to en-
 sure fundamental fairness when the school proceeds through counsel or the procedures are overly



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 complex. . . . [or] the student is also facing criminal charges stemming from the incident in ques-
 tion.” Id. (citation omitted).
         Here, Doe does not allege that OSU proceeded through counsel, or that the hearing pro-
 cedures were overly complex, or that he faced any criminal charges stemming from the incident.
 In any event, Doe was advised by counsel throughout the process. Because Doe did not have a
 clearly established right to active representation by legal counsel, and because a lawyer did ad-
 vise Doe throughout the hearing process, the administrators are entitled to qualified immunity on
 this point.
         6. Doe should have been allowed to present exculpatory expert testimony at the
         hearing
         Doe retained an expert from the medical school who formed an opinion about Jane Roe’s
 blood alcohol level at the time of the incident after reviewing evidence of how many drinks she
 consumed and her height and weight. Doe alleges that he was denied due process because Page
 would not permit Doe’s expert witness to testify at the hearing.
         But there is no due process right to expert testimony in student disciplinary hearings, let
 alone is such a right clearly established. Doe argues that the Mathews test counsels in favor of
 permitting this testimony because the risk of erroneously expelling Doe from OSU increased
 when the evidence was excluded. But the evidence wasn’t excluded entirely—Doe gave his ex-
 pert’s qualifications and either read or summarized the expert’s findings at the hearing. (Hrg.
 Trans. at 304–307, Doc. 15). This was more than sufficient to allow Doe to “present his side of
 the story” and mitigate any risk of erroneously depriving him of his rights. Goss, 419 U.S. at
 581.
         The third Mathews factor—“the Government's interest, including the function involved
 and the fiscal and administrative burdens that the additional or substitute procedural requirement
 would entail,” 424 U.S. 319 at 335—also favors the Administrators. The fiscal and administra-
 tive burden on a university would be significant if it had to retain experts, present live expert tes-
 timony at student disciplinary hearings, and prepare a cross-examination of the other side’s ex-
 pert witness. In short, the Mathews test tilts away from requiring this procedure, even in this case
 where there was only one expert witness offered. In any event, the right to present live expert-
 witness testimony is not a clearly established due process right in the student disciplinary con-
 text. Therefore, the Administrators are entitled to qualified immunity on this issue.


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        7. Defendants’ failure to disclose key evidence denied Doe the right to effective
        cross-examination
        Doe argues that the Administrators knew of evidence that he could have used to impeach
 Jane Roe’s credibility, but they did not disclose that evidence to Doe. Then, at the hearing, Jane
 Roe said, “their decision to keep me in school and to allow me to continue next year in the fall
 was already decided before my decision to report this assault.” (Am. Compl. at ¶ 67). Doe alleg-
 es that he would have impeached Roe on this statement if he had the evidence that OSU had.
 Here are the facts Doe alleges OSU and its Administrators failed to disclose, “[s]pecifically: (a)
 Jane Roe reported that she was a victim of sexual assault only after she received notice that she
 was going to be expelled from school; (b) Jane Roe was permitted to remain in school solely be-
 cause she claimed to be a victim of sexual assault; and (c) Jane Roe misrepresented to the Hear-
 ing Panel her motivation for bringing the allegations and the timing of her disclosure.” (Pl.’s
 Resp. at 25 (from Am. Compl. at ¶¶ 51–52, 63–64, 67, 69)).
        Doe argues that Brady requires OSU to disclose this evidence. See Brady v. Maryland,
 373 U.S. 83 (1963). The Administrators argue that federal statutes prohibit them from disclosing
 this evidence. And while Brady may not require this disclosure, and its disclosure may conflict
 with a federal statute, the Due Process Clause may require it.
        Brady imposes an affirmative duty on criminal prosecutors to “disclose evidence favora-
 ble to a defense.” Kyles v. Whitley, 514 U.S. 419, 421 (1995) (citing Brady, 373 U.S. 83). Doe
 argues that courts require government agencies to offer Brady-type disclosures in civil matters,
 citing Demjanjuk v. Petrovsky, 10 F.3d 338, 353 (6th Cir. 1993). But in Demjanjuk, the Sixth
 Circuit extended Brady to “cover denaturalization and extradition cases where the government
 seeks denaturalization or extradition based on proof of alleged criminal activities of the party
 proceeded against.” Id. There, the court made explicit reference to the fact that Brady applied
 because the government “sought to denaturalize Demjanjuk” in part on the basis that he “was
 guilty of mass murder.” Id. There, the government attorneys had a constitutional duty to produce
 Brady material at least in part because “[t]he consequences of denaturalization and extradition
 equal or exceed those of most criminal convictions.” Id. at 354.
        Here, there is no criminal case and certainly no mass murder. The Court is aware of no
 controlling “case law extending the [Brady] rule to civil matters, much less student disciplinary
 proceedings.” Tanyi v. Appalachian State Univ., No. 5:14-CV-170RLV, 2015 WL 4478853, at


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 *5 (W.D.N.C. July 22, 2015) (finding no case law in the Fourth Circuit to support such an exten-
 sion). The Court will not extend Brady to the context of university disciplinary proceedings.
          Disclosing this information presents a second problem. If the Due Process Clause re-
 quires OSU to disclose the accommodations it makes for alleged victims of sexual misconduct,
 that requirement may be in conflict with a federal statute. 5 The Family Educational Rights and
 Privacy Act (“FERPA”), 20 U.S.C. § 1232g, prohibits the disclosure of “personally identifiable
 information” in student academic records. Here, the accommodation Jane Roe received is part of
 her academic record at OSU. Disclosing this accommodation would likely violate FERPA.
          Doe argues that OSU can disclose educational records in the context of university disci-
 plinary hearings without violating FERPA. That’s true: universities may disclose the “final re-
 sults” of disciplinary proceedings in a limited way, see 20 U.S.C. § 1232g(b)(6), and universities
 may disclose student records to other school officials who have a “legitimate educational inter-
 est[]” in the records, see 20 U.S.C. § 1232g(b)(1)(A). Neither of these exceptions apply to Doe.
 He’s not a school official with a legitimate educational interest in Jane Roe’s records, nor are the
 records the “final result” of a disciplinary proceeding.
          Doe offers a solution: OSU could have simply redacted the records to eliminate all of
 Jane Roe’s personally identifiable information. Doe argues this would have preserved Jane Roe’s
 anonymity while providing him the information he needed to effectively defend himself in the
 disciplinary hearing. But if John Doe requested Jane Roe’s educational records, and OSU pro-
 vided him records with the name redacted, he would have a good reason to believe they were
 Jane Doe’s records. The regulations contemplate this exact situation, defining the term “person-
 ally identifiable information” to include “[i]nformation requested by a person who the education-
 al agency or institution reasonably believes knows the identity of the student to whom the educa-
 tion record relates.” 34 C.F.R. § 99.3. It appears that releasing Jane Roe’s academic records to
 Doe—even redacted versions—would violate FERPA.
          But Brady and FERPA aside, Doe alleges that he was denied the opportunity to present
 his side of the story because the Administrators withheld a critical piece of information. As Mag-
 istrate Judge Kemp put it, “No attorney, when cross-examining a witness, can be expected to

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   This argument also implicates the constitutional-avoidance canon of statutory construction. That canon “is a tool
 for choosing between competing plausible interpretations of a statutory text, resting on the reasonable presumption
 that Congress did not intend the alternative which raises serious constitutional doubts.” Clark v. Martinez, 543 U.S.
 371, 381 (2005). Neither party raised this argument in their briefs.


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 think of and ask all relevant questions without some ability to identify fruitful areas of cross-
 examination in advance. That is why discovery is available in civil cases, and the rule of Brady v.
 Maryland, 373 U.S. 83 (1963) has been interpreted to require the disclosure of impeachment ev-
 idence in criminal cases.” (R&R at 14, doc. 66). The Court has rules to apply in adversary pro-
 ceedings. But here, without discovery or mandatory disclosures, Doe is left to rely on the benefi-
 cence of the university administrators. Doe only has what he can unearth and what OSU provides
 to form the basis of any cross-examination. In this case, Doe alleges that he had no way to know
 about critical evidence that would impeach his accuser’s credibility, and this was a case where
 the panel’s decision hinged on a credibility decision. Specifically, one panel member asked John
 Doe “Why do you think [Jane Roe] should say – she would say she didn’t remember anything
 from that night? What would be her motivation?” (See Am. Compl. at ¶ 68). When asked at the
 hearing about the timing of her sexual-misconduct complaint, it is at least arguable that Jane Roe
 made a false or misleading statement. Doe could not impeach her because he didn’t have the evi-
 dence of the timing of her accommodation.
         The right to some form of cross-examination in university expulsion hearings is a clearly
 established due process right when cross-examination is “essential to due process,” as in a case
 that turns on “a choice between believing an accuser and an accused.” See Flaim, 418 F.3d at
 641 (dicta). Given the facts alleged, it is plausible that Doe’s right to cross examination was ef-
 fectively denied by the Administrators’ failure to turn over critical impeachment evidence. But
 the right to mandatory disclosures of any impeachment evidence is not a clearly established con-
 stitutional right in the student disciplinary context. Given the flexibility of the Due Process
 Clause, this situation may call for the disclosure of key impeachment evidence. If the Adminis-
 trators knew that Jane Roe lied about the timing of her accommodation at the hearing and permit-
 ted her testimony to stand unrebutted, that plausibly violated John Doe’s right to a fundamentally
 fair hearing, regardless of whether the issue is construed as one of cross-examination or disclo-
 sure.
         But which Administrators are implicated by Doe’s allegations that he did not receive a
 fundamentally fair hearing?
         Javaune Adams-Gaston: Doe alleges that she “has responsibility for the administering
 and operating aspects of the OSU Student Code of Conduct and Judicial System, and ultimately
 made the final decision about whether John Doe may remain a student at OSU.” (Am. Compl. at


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 ¶ 5). Adams-Gaston, as the one ultimately responsible for the disciplinary process, is implicated
 by Doe’s allegations.
           Matthew Page: Page was responsible for administering Doe’s disciplinary hearing, and he
 “was likely aware of Brennan’s actions on behalf of Jane Roe and other victims to obtain ac-
 commodations.” (Am. Compl. at ¶ 67). Page also knew that “the credibility of Jane Roe was an
 important issue in this case.” (Id. at ¶ 74). Page was at the hearing and heard Jane Roe’s alleged-
 ly false or misleading statement. Page is therefore implicated by Doe’s allegations.
           Kellie Brennan: “was aware the credibility of Jane Roe was one of the key issues in the
 case. . . . [and] was likely aware that the Hearing Panel was not told about the significant ac-
 commodation received by Jane Roe.” (Id. at ¶ 74). Brennan was also aware of the accommoda-
 tion provided to Jane Roe. (Id. at ¶ 45). In her capacity as OSU’s Title IX Coordinator, she
 “serves as consultant to any disciplinary hearing panel.” (Id. at ¶ 32). Doe alleges that Brennan
 was “aware that Jane Roe made false and misleading statements about the accommodations she
 had obtained, including that but for her claim that she was a victim of sexual assault she would
 have been dismissed from the medical school.” (Id. at ¶ 68). Doe’s allegations implicate Bren-
 nan.
           Natalie Spiert: Doe alleges she “was aware of the accommodations provided to Jane Roe
 as a result of her claim that she was a victim of sexual assault.” (Id. at ¶ 67). Doe alleges that
 “Jane Roe, with the assistance of Spiert, made a concerted effort to mislead the Hearing Panel
 about the timing of her disclosure and her motivations.” (Id. at ¶ 67). Doe’s allegations implicate
 Spiert.
           Jeff Majarian: Doe alleges only that Majarian would have known about the accommoda-
 tion made for Jane Roe if he had conducted a thorough investigation of Jane Roe’s claims. But as
 this Court has already held, the Due Process Clause does not require a more thorough investiga-
 tion in the context of university disciplinary proceedings. (Supra at § III.B.1.). Doe does not al-
 lege that Majarian played a role in the notice or hearing process except to the extent that the re-
 sults of his investigation were included in the hearing packet. The hearing packet was provided
 to the hearing panel; it contained summaries of statements from Jane Roe, John Doe, and other
 witnesses. (Am. Compl. at ¶ 64). Majarian is entitled to qualified immunity because Doe has
 stated no specific allegations that Majarian violated clearly established law by failing to disclose
 key impeachment evidence.


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        The Court will deny the motion to dismiss as to the other four Administrators. Doe sug-
 gests that the Court defer ruling on qualified immunity until the parties have conducted addition-
 al discovery. (Pl.’s Resp. at 31).
        “Although an officer's ‘entitle[ment] to qualified immunity is a threshold question to be
 resolved at the earliest possible point,’ that point is usually summary judgment and not dismissal
 under Rule 12.” Wesley v. Campbell, 779 F.3d 421, 433–34 (6th Cir. 2015) (alteration in origi-
 nal) (internal citation omitted) (quoting Vakilian v. Shaw, 335 F.3d 509, 516 (6th Cir. 2003)); see
 also Summers v. Leis, 368 F.3d 881, 886 (6th Cir. 2004) (discussing how a district court cannot
 avoid ruling on the issue of qualified immunity in the context of a motion for summary judg-
 ment). The concern at the Rule 12 stage is whether the plaintiff has alleged “facts which, if true,
 describe a violation of a clearly established statutory or constitutional right of which a reasonable
 public official, under an objective standard, would have known.” Kennedy v. City of Cleveland,
 797 F.2d 297, 299 (6th Cir. 1986). Even if the plaintiff has done so, the defendant may still be
 entitled to summary judgment on the basis of qualified immunity “if discovery fails to uncover
 evidence sufficient to create a genuine issue as to whether the defendant in fact committed those
 acts.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985).
        Doe cites a Fifth Circuit case for authority that “a district court “may defer its qualified
 immunity ruling if further factual development is necessary to ascertain the availability of that
 defense.” Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir. 2012). The Sixth Circuit has not been
 explicit, like the Fifth Circuit has, about adopting a plan of narrowly tailored discovery to deter-
 mine the issue of qualified immunity, but such a plan is consistent with the purposes of qualified
 immunity, namely, that “insubstantial claims against government officials be resolved . . . . at the
 earliest possible stage in litigation.” Pearson v. Callahan, 555 U.S. 223, 231–32 (2009) (citations
 omitted) (internal quotation marks omitted). But whether it’s the Court defers its ruling or a
 simply denies Defendants’ motion to dismiss, the Court will not make a final ruling on the issue
 of qualified immunity until after limited discovery.
        Here, the Court will grant in part and deny in part the motion to dismiss and permit lim-
 ited discovery. If discovery fails to uncover sufficient evidence that the Administrators violated
 Doe’s due process rights, then the Administrators may be entitled to qualified immunity. The
 Court will permit limited discovery on two issues pertaining to the Administrators’ claim for
 qualified immunity.


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         One: the issue of the hearing panel members’ training.
         Two: the issue of the failure to disclose information about Jane Roe’s accommodation.
         To answer the question of whether any of the remaining four Administrators are entitled
 to qualified immunity, the Court needs to answer the following questions:
         (1) In the hearing, did Jane Roe make a false or misleading statement about the timing of
 her accommodation?
         (2) Which of the Administrators knew about her accommodation?
         (3) Which of the Administrators knew about her allegedly false or misleading statement
 in the hearing?
         (4) When did Jane Roe first report the alleged sexual misconduct to OSU?
         (5) What training did the panel members receive?


 IV. Conclusion
         The Court therefore GRANTS IN PART AND DENIES IN PART Defendants’ motion
 to dismiss. (Doc. 55). Defendant OSU is dismissed. Defendant Administrator Majarian is dis-
 missed. The Court reserves ruling on the issue of qualified immunity as to the remaining Admin-
 istrators.
         IT IS SO ORDERED.
                                                                     s/ James L. Graham
                                                                     JAMES L. GRAHAM
                                                                     United States District Judge
 DATE: November 7, 2016




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